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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIR E



United States of America

          V.                            Criminal No . 09-cr-120-02-J L

Jonathan Lara



                                O R D E R



     The assented to motion to reschedule jury trial (document no .

15) filed by defendant is granted in part ; the continuance i s

limited to 30 days . No further continuances without a hearing .

     Defendant shall file a waiver of speedy trial rights within 1 0

days . The court finds that the ends of justice served by granting a

continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U .S .C .    § 3161(h)(8)(B)(iv), for th e

reasons set forth in the motion .

     SO ORDERED .




                                        Joseph N . Laplant e
                                        United States District Judge

Date : September 29, 200 9




cc : Paul Garrity, Esq .
      Jennifer Davis, Esq .
      U .S . Marsha l
      U .S . Probation
